                          EXHIBIT 1
    NCGS 130A-383. Medical Examiner
                          Jurisdiction




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6/17/24, 4:59AM                                                                G.S.130A-383                    l·~~~f~~~;~
  § 130A-383. Medical examiner jurisdiction.                                                        Ju ~-sd' L ~
       (a) Upon the death of any person resulting from violence, poisoning, accident, suicide or hom1c1 e; occumng
  suddenly when the deceased had been in apparent good health or when unattended by a physician; occurring in a
  jail, prison, correctional institution or in police custody; occuning in State facilities operated in accordance with
  Part 5 of Article 4 of Chapter l 22C of the General Statutes; occurring pursuant to Article 19 of Chapter 15 of the
  General Statutes; or occurring under any suspicious, unusual or unnatural circumstance_ the medical examiner of
  the county in which the body of the deceased is found shall be notified by a physician in attendance, hospital
  employee, law-enforcement officer, funeral home employee, emergency medical technician, relative or by any
  other person having suspicion of such a death. No person shall disturb the body at the scene of such a death until
  authorized by the medical examiner unless in the unavailability of the medical examiner it is dete1mined by the
  appropriate law enforcement agency that the presence of the body at the scene would risk the integrity of the
  body or provide a hazard to the safety of others. For the limited purposes of this Part, expression of opinion that
  death has occurred may be made by a nurse, an emergency medical technician or any other competent person in
  the absence of a physician.
       (b) The discovery of anatomical material suspected of being part of a human body shall be reported to the
  medical examiner of the county in which the material is found.
       (c) Upon completion of the investigatio11 and in accordance with the rules of the Commission, the medical
  examiner shall release the body to the next of kin or other interested person who will assume responsibility for
  final disposition . (1955 , c. 972, s. l ; 1957, c. 1357, s. 1; 1963, c. 492, s. 4; 1967, c. 1154, s. 1; 1983, c. 891, s. 2;
   1989, C. 353, s. l; 2008-131, s. 2.)




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